870 F.2d 655Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Henry TAYLOR, Jr., Plaintiff-Appellant,v.Thomas ISRAEL, J. Hagenlocker, Sergeant Thomas, Defendants-Appellees.
    No. 88-7820.
    United States Court of Appeals, Fourth Circuit.
    Submitted Jan. 30, 1989.Decided March 2, 1989.
    
      Henry Taylor, Jr., appellant pro se.
      Mark Ralph Davis, Office of the Attorney General, for appellees.
      Before K.K. HALL and WILKINS, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Henry Taylor, Jr., appeals from the district court's order denying relief under 42 U.S.C. Sec. 1983.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Taylor v. Israel, C/A No. 87-108-H (W.D.Va. Nov. 4, 1988).  We dispense with oral argument because the appeal is frivolous.
    
    
      2
      AFFIRMED.
    
    